         Case 18-18160-amc
 Fill in this information to identify the case:
                                               Doc        Filed 03/13/24 Entered 03/13/24 13:53:20                    Desc Main
                                                          Document      Page 1 of 4
 Debtor 1               Camilla Brown
B 10 (Supplement 2) (12/11)           (post publication draft)
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                          Eastern                            Pennsylvania
 United States Bankruptcy Court for the: ______________________ District of __________

                        18-18160-amc
                                                                             (State)
 Case number            ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                           10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                  U.S. Bank Trust National Association,                                      Court claim no. (if known):
 Name of creditor:                as Trustee of the Bungalow Series IV Trust
                                  ______________________________________                                     6-1
                                                                                                             _________________

 Last 4 digits of any number you use to identify the debtor’s account:
                                                                                         8 ____
                                                                                       ____ 2 ____
                                                                                                7 ____
                                                                                                   4
 Property address:                535 East Carver Street
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  Philadelphia,                  PA   19120
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

   Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

   Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date          $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

   Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:              04 01 2024
                                                                                 ____/_____/______
                                                                                 MM / DD / YYYY

   Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                    (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                              + (b) $ __________
        c. Total. Add lines a and b.                                                                                   (c)   $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became              ____/_____/______
        due on:                                                                  MM / DD / YYYY


Form 4100R                                                 Response to Notice of Final Cure Payment                               page 1
         Case 18-18160-amc                        Doc           Filed 03/13/24 Entered 03/13/24 13:53:20                          Desc Main
                                                                Document      Page 2 of 4

Debtor 1
                 Camilla Brown
              _______________________________________________________
                                                                                                                  18-18160-amc
                                                                                              Case number (if known) _____________________________________
              First Name       Middle Name               Last Name




 Part 4:     Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:     Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

   I am the creditor.
   I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




             __________________________________________________
               /s/ Lauren Moyer
                  Signature
                                                                                              Date    03    13 2023
                                                                                                      ____/_____/________




 Print            Lauren                                             Moyer
                  _________________________________________________________                   Title   ___________________________________
                  First Name                      Middle Name          Last Name




 Company          Friedman Vartolo LLP
                  _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address          1325 Franklin Avenue, Suite 160
                  _________________________________________________________
                  Number                 Street


                  Garden City                        NY     11530
                  ___________________________________________________
                  City                                                 State       ZIP Code




 Contact phone      212 _____–
                  (______) 471 _________
                               5100                                                                   Bankruptcy@friedmanvartolo.com
                                                                                              Email ________________________




Form 4100R                                                       Response to Notice of Final Cure Payment                                        page 2
Case 18-18160-amc             Doc       Filed 03/13/24 Entered 03/13/24 13:53:20              Desc Main
                                        Document      Page 3 of 4



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF PENNSYLVANIA
-------------------------------------------------------------------X
                                                                       :
  IN RE:                                                               :   CASE NO.: 18-18160-amc
                                                                       :   CHAPTER: 13
  Camilla Brown,                                                       :
                                                                       :   CERTIFICATE OF SERVICE
  Debtor.                                                              :
                                                                       :   HON. JUDGE.: Ashely M. Chan
                                                                       :
                                                                       :
                                                                       :
                                                                       :
                                                                       :
-------------------------------------------------------------------X
                    CERTIFICATE OF SERVICE OF NOTICE OF APPEARANCE

       The undersigned counsel for SN Servicing Corporation as servicer for U.S. Bank Trust
National Association, as Trustee of the Bungalow Series IV Trust (“Secured Creditor”) certify that,
on the date stated hereon, I caused to be served a copy of the Notice of Appearance filed on behalf of
Secured Creditor on the parties in the manner specified on the attached service list.

        The type(s) of service made on the parties was: electronic notification or first-class mail, postage
pre-paid. Where service is by electronic notification, the address of the party is listed for identification
purposes only.

EXECUTED ON: March ____,
                   13    2024
                   Garden City, New York

                                                     FRIEDMAN VARTOLO, LLP.

                                                     By: _/s/ Lauren Moyer __
                                                     Lauren Moyer, Esq.
                                                     FRIEDMAN VARTOLO LLP
                                                     Attorneys for Movant
                                                     1325 Franklin Avenue, Suite 160
                                                     Garden City, New York 11530
                                                     T: (212) 471-5100
                                                     F: (212) 471-5150
                                                     Bankruptcy@FriedmanVartolo.com
Case 18-18160-amc      Doc    Filed 03/13/24 Entered 03/13/24 13:53:20   Desc Main
                              Document      Page 4 of 4




     Service by NEF

     Trustee
     KENNETH E. WEST
     Office of the Chapter 13 Standing Trustee
     1234 Market Street - Suite 1813
     Philadelphia, PA 19107

     Debtor’s Counsel
     MICHAEL A. CIBIK
     Cibik Law, P.C.
     1500 Walnut Street
     Suite 900
     Philadelphia, PA 19102

     U.S. Trustee
     United States Trustee
     Office of the U.S. Trustee
     Robert N.C. Nix Federal Building
     Suite 320
     Philadelphia, PA 19107

     Service by First-Class Mail

     Debtor
     Camilla Brown
     535 East Carver Street
     Philadelphia, PA 19120
